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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

FRANCES NICOLE                          )
SPRAYBERRY,                             )
                                        )
             Plaintiff,                 )
                                        )
       v.                               )      CASE NO. 3:17-CV-762-WKW
                                        )
RALPH CAMPANIO,                         )
                                        )
             Defendant.                 )

                                    ORDER

      Upon consideration of the parties’ Joint Motion for Dismissal with Prejudice

(Doc. # 29), it is ORDERED that the motion (Doc. # 22) is GRANTED pursuant to

Federal Rule of Civil Procedure 41(a)(2). Accordingly, Plaintiff’s action against

Defendant is DISMISSED with prejudice, with costs taxed as paid.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 4th day of September, 2019.

                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE
